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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISCTICT OF FLORIDA
                                   TAMPA DIVISION

JANE DOE,

       Plaintiff,

vs.                                                                CASE NO: 8:21-cv-1245

NEW COLLEGE OF FLORIDA, a
Public University and Member of the
State University System; and
NEW COLLEGE OF FLORIDA
BOARD OF TRUSTEES, a Florida
Public Entity,

       Defendants,

                                              /

                           DEFENDANTS’ NOTICE OF REMOVAL

       To the Honorable Judges of the United States District Court for the Middle District of

Florida, Tampa Division:

       The Removing Defendants, NEW COLLEGE OF FLORIDA and NEW COLLEGE OF

FLORIDA BOARD OF TRUSTEES, by and through undersigned counsel, hereby file this Notice

of Removal pursuant to 28 U.S.C. § 1446, Fed.R.Civ.Pro. 81 and Middle District Local Rule 1.06,

and hereby remove this state court action which has been pending as Case No.: 2021-CA-1704-

NC in the Circuit Court of the Twelfth Judicial Circuit Court in and for Sarasota County, Florida

(“action”) to the United States District Court for the Middle District of Florida. In support of this

notice, the Removing Defendants state as follows:

       1.      Complaint: Plaintiff, JANE DOE, has filed a Complaint in the Circuit Court of the

Twelfth Judicial Circuit Court in and for Sarasota County, Florida, which was served on NEW
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COLLEGE OF FLORIDA and NEW COLLEGE OF FLORIDA BOARD OF TRUSTEES on

April 21, 2021. Plaintiff alleges that the Defendants had “created and/or subjected Plaintiff to a

hostile education environment based on her sex” in violation of Title IX of the Education

Amendments of 1972, 20 U.S.C. § 68(a) and 20 U.S.C. §1681 et seq., and “acted with deliberate

indifference” toward her in failing to take notice of her rape (Complaint, Counts II & IV).

          2.    Basis for Jurisdiction in this Court: This U.S. District Court has jurisdiction over

this matter pursuant to 28 U.S.C.A. §1331, 28 U.S.C.A §1367, and 20 U.S.C.A. §1681.

          3.    Notice Given: Defendants, NEW COLLEGE OF FLORIDA and NEW COLLEGE

OF FLORIDA BOARD OF TRUSTEES, have filed a Joint Notice of Removal with the clerk of

the Twelfth Judicial Circuit Court in and for Sarasota County, Florida (Exhibit “A”). See 28

U.S.C. §1446(d).

          4.    Removal is Timely: Defendants, NEW COLLEGE OF FLORIDA and NEW

COLLEGE OF FLORIDA BOARD OF TRUSTEES, were served on the respective date listed in

paragraph 1 of this Notice of Removal. Accordingly, this Notice of Removal is timely filed within

thirty (30) days allotted for removal by 28 U.S.C. §1446(b).

          5.    Pleadings in Process: Under 28 U.S.C. §1446(a), these Removing Defendants are

required to attach to this notice “a copy of all process, pleadings and orders served upon” them.

The attached Exhibit “B” contains all such process, pleadings and orders served in this cause of

action.

          6.    Consent: All Defendants consent to removal.

          WHEREFORE, NEW COLLEGE OF FLORIDA and NEW COLLEGE OF FLORIDA

BOARD OF TRUSTEES hereby remove this case from the Twelfth Judicial Circuit Court in and
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for Sarasota County, Florida, to this United States District Court and pray that this court effectuate

this removal, pursuant to law.

                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been

furnished by U.S. Mail to Damian B. Mallard, Esq., Mallard Law Firm, P.A., 889 N. Washington

Blvd., Sarasota, Florida 34236 on this __21___ day of May, 2021.



                                 MANDELBAUM, FITZSIMMONS, HEWITT & CAIN, P.A.

                                       /s/ Samuel R. Mandelbaum, Esq.

                                 _________________________________________________
                                 Samuel R. Mandelbaum, Esq.
                                 Florida Bar No. #270806
                                 Post Office Box 3373
                                 Tampa, Florida 33601
                                 Telephone: (813) 221-0200
                                 Facsimile: (813) 221-8558
                                 Attorneys for Defendants
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   EXHIBIT “A”
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            IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                    IN AND FOR SARASOTA COUNTY, FLORIDA

JANE DOE,

       Plaintiff,                                   Case No.: 2021-CA-1704
v.

NEW COLLEGE OF FLORIDA, a
Public University and Member of the
State University System; and NEW
COLLEGE OF FLORIDA BOARD
OF TRUSTEES, a Florida Public
Entity,

      Defendants.
__________________________________/

                                  DEFENDANTS’ JOINT
                                  NOTICE OF REMOVAL

       COMES NOW the Defendants, NEW COLLEGE OF FLORIDA, a Public University and

Member of the State University System (hereinafter “NCF”) and NEW COLLEGE OF FLORIDA

BOARD OF TRUSTEES, a Florida Public Entity (hereinafter “NCBT”) by and through

undersigned counsel, and provide this Notice of Removal of the above styled action to the United

States District Court for the Middle District of Florida, Tampa Division, Case no. 8:21-cv-1245.

                                      MANDELBAUM, FITZSIMMONS, HEWITT
                                      & CAIN, P.A.


                                         /s/ Samuel R. Mandelbaum, Esq.
                                      ___________________________________________
                                      SAMUEL R. MANDELBAUM, ESQ. FBN 270806
                                      JOHN D. ARNETT, ESQ. FBN 1023233
                                      Post Office Box 3373
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                                      Secondary Service Emails: eservice@manfitzlaw.com
                                      Attorney for Defendants New College and its Trustees
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed online

using the Florida E-Filing Portal as mandated by Fla. R. of J. Admin 2.516(b)(1) with copies being

furnished by email to: Damian B. Mallard, Esq. and Elizete D. Velado, Esq,, Mallard Law Firm,

P.A.         (damian@mallardlawfirm.com;              elizete@mallardlawfirm.com;             and

susan@mallardlawfirm.com) on this       21   day of May, 2021.




                                         /s/ Samuel R. Mandelbaum, Esq.
                                     ___________________________________________
                                                   ATTORNEY
